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6 || Attorneys for Defendant
LOCKHEED MARTIN CORPORATION
7
IN THE UNITED STATES DISTRICT COURT
8 FOR THE CENTRAL DISTRICT OF CALIFORNIA
°| PAUL OLDS, CASE NO. CV-12-08539 R
10 Lo.
Plaintiff, Hon. Manuel L. Real
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V. EX PARTE APPLICATION AND
12 MEMORANDUM BY LOCKHEED
3M COMPANY a/k/a MINNESOTA MAARTEN CORTORATION FOR AN
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vOMPaANY x MANUPACTSRING HEARING DATES FOR:
14 “ss 1. PLAINTIFF’S MOTION TO
16 INTERROGATORY NOS. 5 and 8
AND LOCKHEED MARTIN’S
17 REQUEST FOR MONETARY
SANCTIONS AGAINST PLAINTIFF
18 AND/OR PLAINTIFF’S COUNSEL
IN THE AMOUNT OF $6,992.50;
19 2. LOCKHEED MARTIN
CORPORATION’S MOTION TO
20 STRIKE PORTIONS OF
PLAINTIFF’S COUNSEL’S
21 DECLARATION AND EXHIBIT I;
AND
22 3. PLAINTIFF’S MOTION FOR
93 PARTIAL SUMMARY JUDGMENT
OF DEFENDANT LOCKHEED
DA MARTIN CORPORATION’S
ALLEGED GOVERNMENT
95 CONTRACTOR DEFENSE
26 Filed: October 4, 2012
Trial Date: March 11, 2014

 

 

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LOCKHEED MARTIN CORPORATION’S EX PARTE APPLICATION

 
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TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

Pursuant to Judge Real’s Procedures and Schedules, paragraphs 5 and 6 and
U.S. District Court, Central District, Local Rule 7-19, Defendant Lockheed Martin
Corporation (“Lockheed Martin’) applies ex parte for an order continuing the hearing
date from July 29, 2013 to August 19, 2013, for the following motions: 1) Plaintiff’s
Motion To Compel Further Responses To Plaintiff’ s Interrogatory Nos. 5 And 8 And
Lockheed Martin’s Request For Monetary Sanctions Against Plaintiff And/Or
Plaintiffs Counsel In The Amount Of $6,992.50; 2) Lockheed Martin Corporation’s
Motion To Strike Portions Of Plaintiff’s Counsel’s Declaration And Exhibit I; And 3)
Plaintiff's Motion For Partial Summary Judgment Of Defendant Lockheed Martin
Corporation’s Alleged Government Contractor Defense.

The undersigned counsel informed Plaintiff’s counsel, coping all parties, that
Lockheed Martin would make such an application and the grounds and authority for
doing so. (Correspondence dated June 10, 2013, and receipt of service, attached to
Declaration of Deborah M. Parker (“Parker Decl.”) as Ex. A at p. 5.) In compliance
with Judge Real’s Procedures and Schedules, Lockheed Martin also informed
plaintiffs counsel and copied all parties that they had twenty-four (24) hours from
actual receipt of the ex parte application to file any opposition. (Parker Decl., J 2.)
Plaintiff’s counsel indicated that Plaintiff would oppose the application. (Email
exchange dated June 11, 2013, attached to Parker Decl. as Ex. B at p. 8.)

This application is based on the ex parte notice, this application, the attached
memorandum of points and authorities, Declarations of Deborah M. Parker and Guy P.
Glazier and exhibits, and all pertinent documents filed in this case.

Dated: June 12, 2013

/s/ Deborah M. Parker
Deborah M. Parker (SBN 228203)
Glazier Yee LLLP

Attorneys for Defendant
LOCKHEED MARTIN CORPORATION

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LOCKHEED MARTIN CORPORATION’S EX PARTE APPLICATION

 
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MEMORANDUM OF POINTS AND AUTHORITIES

This Court outlines the procedure for requesting that a hearing date be continued
when a conflict arises. “The parties must make the request [for a continuance] in
writing by submitting either a stipulation or ex parte application with a proposed order
for the court’s signature; alternative dates must be cleared with the court clerk before
submitting the document.” (Judge Real’s Procedures and Schedules, { 6); see L.R. 7-
19, Lockheed Martin’s counsel cleared the proposed date of August 19, 2013, with
Court Clerk William Horrell. (Parker Decl., { 4.) Lockheed Martin has not requested
any other continuance. (Parker Decl., J 5.)

Plaintiff originally set his motions to be heard before Judge Real on the fourth
Monday of April. (See Plaintiff’s Motions [Docket Nos. 229 and 230].) Because this
Court hears motions on the first and third Mondays of the month, this Court continued
the hearings to the first Monday of May. (Judge Real’s Minute Order [Docket Nos.
231 and 232].) Lockheed Martin filed its motion to strike to coincide with the May
hearing date set by the court. (See Lockheed Martin’s Motion [Docket No. 235].)
This Court reset the hearing date to June 3 and transferred the case to Judge
O’Connell. (Judge Real’s Minute Order [Docket No. 254].) Judge O’Connell reset the
hearing date to July 22 but shortly thereafter recused herself. (Judge O’Connell’s
Minute Orders [Docket Nos. 257 and 259].) The case was transferred back to this
Court and the hearing reset for July 29, 2013. (Judge Real’s Minute Order [Docket
No. 260].)

The two Lockheed Martin attorneys (the only two attorneys in the Los Angeles
office of Glazier Yee LLLP) who have prepared for the hearing on the pending
motions are on coordinated and scheduled and, in one instance, prepaid vacation on
July 29, 2013. (Parker Decl., 7; Declaration of Guy P. Glazier, {{ 2-3.) The next
hearing date when the attorneys are available is August 19, 2013. In addition,
Lockheed Martin will file a motion for summary judgment that addresses many of the

same issues and points of law (Lockheed Martin’s immunity under the government

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MEMORANDUM OF POINTS AND AUTHORITIES

 
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1 || contractor defense) that are raised in Plaintiff’s motion for partial summary judgment.
2 || (Parker Decl., ] 6.) The proposed August 19, 2013 hearing date allows sufficient time
3 || for Lockheed Martin to file its motion for summary judgment and promotes the
4|| judicial economy of hearing on the same date motions based on the same issues and
5 || points of law.
6 For the foregoing reasons, Lockheed Martin respectfully requests this court to
7 || order the hearing date continued on the pending motions from July 22 to August 19,
8 || 2013.
91} Dated: June 12, 2013

10 Beborah M. Parker (SBN 228203)

1 Glazier Yee LLLP

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1 CERTIFICATE OF SERVICE
2 I, the undersigned, do hereby certify that on the below noted date, the
3 | aforementioned document was electronically filed with the Clerk of the Court of the
41 United States District Court, Central District of California using the ECF system which
5}; sent notification of such filing to all counsel of record. This document is now
6) available for viewing and downloading from the ECF system.
7
8] Dated: June 12, 2013
9 Beborat ht Parker (SBN 228203)
10 707 Wilenie Boulevard, Suite 2025
14 O13)3 sles, California 90017
40 parker @ glazieryee.com
13 LOCKS BED MARTIN CORPORATION
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CERTIFICATE OF SERVICE

 

 

 
